         Case 2:16-cv-01589-RAJ Document 59 Filed 03/07/18 Page 1 of 2




                     United States District Court
                              WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE

  CRIMINAL PRODUCTIONS, INC.,
                                                   JUDGMENT IN A CIVIL CASE
                 Plaintiff,
                                                   CASE NUMBER: C16-1589RAJ
          v.

  NATHAN PRICE, et al.,

                 Defendants.


       Jury Verdict. This action came before the Court for a trial by jury. The issues have been
       tried and the jury has rendered its verdict.

  X    Decision by Court. This action came to consideration before the Court. The issues have
       been considered and a decision has been rendered.

THE COURT HAS ORDERED THAT:

        For the reasons stated in its Order of March 6, 2018, the Court awards Plaintiff judgment
as follows:

        Against Defendant Justin Markel in the amount of $2,666.52, reflecting $750.00 in
statutory damages, attorney’s fees in the amount of $1,773.00, and costs in the amount of
$143.52.

        Against Defendant Leonila Franada in the amount of $2,666.52, reflecting $750.00 in
statutory damages, attorney’s fees in the amount of $1,773.00, and costs in the amount of
$143.52.

        Against Defendant Carole Jones in the amount of $2,676.52, reflecting $750.00 in
statutory damages, attorney’s fees in the amount of $1,773.00, and costs in the amount of
$153.52.

        Against Defendant Dave Sosa in the amount of $2,676.52, reflecting $750.00 in
statutory damages, attorney’s fees in the amount of $1,773.00, and costs in the amount of
$153.52.
          Case 2:16-cv-01589-RAJ Document 59 Filed 03/07/18 Page 2 of 2



        This Judgment further incorporates the Court’s order that Defendants Justin Markel,
Leonila Franada, Carole Jones, and Dave Sosa are permanently enjoined from directly,
indirectly, or contributorily infringing Plaintiff’s rights in Plaintiff’s motion picture, including
without limitation by using the Internet to reproduce or copy Plaintiff’s motion picture, to
distribute Plaintiff’s motion picture, or to make Plaintiff’s motion picture available for
distribution to the public, except pursuant to lawful written license or with the express authority
of Plaintiff. To the extent that any such material exists, Defendants Justin Markel, Leonila
Franada, Carole Jones, and Dave Sosa are directed to destroy all unauthorized copies of
Plaintiff’s motion picture in his or her possession or subject to his or her control.


       Dated this 7th day of March, 2018.
                                              WILLIAM M. McCOOL,
                                              Clerk of the Court

                                              By:     /s/ Victoria Ericksen
                                                       Deputy Clerk
